     Case 1:15-cv-01184-JKB        Document 1      Filed 04/27/15     Page 1 of 9



                        UNITED STATES DISTRIC COURT
                       FOR THE DISTRICT OF MARYLAND

KIRK A. FINLAY
7006 HIGHVIEW TERRACE, APT. 302
HYATTSVILLE, MD 20782


       Plaintiff,
                                                   CIVIL CASE NO:
v.

FORTIS INSTITUTE-TOWSON
700 YORK ROAD
TOWSON, MD 21204


       Defendant.


                    COMPLAINT AND DEMAND FOR JURY TRIAL

                                 Nature of the Action

     1.        This is an action for damages and equitable relief arising out of Fortis

 Institute-Towson’s (“Fortis”) unlawful discriminatory discharge of plaintiff Kirk A.

 Finlay, an African American, who, prior to being fired, held the position of dental

 assistant instructor. Fortis terminated Mr. Finlay after his new Caucasian supervisor

 became paranoid by Mr. Finlay’s race and background. Further, Mr. Finlay was fired

 the very day after he returned to work after undergoing an appendix removal surgery.

 After he was fired, Mr. Finlay filed a formal complaint with the Equal Employment

 Opportunity Commission (EEOC), which issued Notice of Right to Sue letter thereafter.

 See Exhibit A.

     2.        To address this discriminatory conduct by Fortis, by and through its

 executives and managers, Mr. Finlay brings claims under Title VII of the Civil Rights
   Case 1:15-cv-01184-JKB           Document 1       Filed 04/27/15   Page 2 of 9



Act of 1964, as amended 42 U.S.C. § 2000e et. seq., and The Civil Rights Act of 1866,

as amended by The Civil Rights Act of 1991, 42 U.S.C. § 1981 et. seq., the Family and

Medical Leave Act and the Americans with Disability Act, 42 U.S.C. § 12188(a) and

seeks damages.

                                           Parties

    3.        Plaintiff Mr. Kirk Finlay is a Maryland citizen, residing at 7006 Highview

Terrace, Apt 302, Hyattsville, Maryland 20782. Mr. Finlay is African-American.

    4.        Fortis-Institute Towson is a private institution located at 700 York Road,

Towson, Maryland 21204.

                                    Jurisdiction and Venue

    5.        Jurisdiction of this Honorable Court is invoked pursuant to 28 U.S.C. §

1331 (federal question), based on the following federal laws: Title VII of the Civil

Rights Act of 1964, as amended 42 U.S.C. § 2000e et. seq., and The Civil Rights Act of

1866, as amended by The Civil Rights Act of 1991, 42 U.S.C. § 1981 et. seq., the

Family and Medical Leave Act and the Americans with Disability Act, 42 U.S.C. §

12188(a).

    6.        Venue is proper as all of the acts complained of herein occurred in the

City of Towson, Maryland.

    7.        Within one hundred eighty (180) days of the last alleged unlawful acts

against him, Mr. Finlay filed a Complaint of Discrimination with the United States

Equal Employment Opportunity Commission (“EEOC”), alleging that he had been

subjected to race discrimination.
   Case 1:15-cv-01184-JKB           Document 1       Filed 04/27/15      Page 3 of 9



    8.        The EEOC conducted an investigation of Mr. Finlay’s Charges. On or

about January 22, 2015, the EEOC closed its file and issued Plaintiff a notice to sue

letter. Plaintiff filed the instant action within the than ninety (90) day time period after

receiving the Notice to Sue letter. Plaintiff has exhausted his administrative remedies.

                                      Statement of Facts

    9.        Mr. Finlay began working for Fortis on or about November, 2012. At that

time, he was hired as a part-time instructor. Mr. Finlay excelled in that role and was

thereafter given additional responsibilities by Fortis. Mr. Finlay became a full-time

employee and started conducting student orientations.        Eventually, Mr. Finlay was

literally given the “keys to the building,” having the responsibility to close the labs and

the school building at nighttime.

    10.       At all times relevant herein, Plaintiff performed his duties in an exemplary

manner. Plaintiff was never disciplined or subject to complaints about the quality of his

performance on the job.

    11.       On or about February, 2015, Fortis hired a new Director of Education, Mr.

Mark McGinnis, a Caucasian. Almost immediately, Mr. McGinnis began exhibiting

signs of distrust with regard to Mr. Finlay.

    12.       Whereas Mr. Finlay’s prior supervisor had entrusted Mr. Finlay with the

“keys to the building,” Mr. McGinnis would follow Mr. Finlay around the labs and the

school as he went through the process of closing down the building. Mr. Finlay felt

uncomfortable with Mr. McGinnis trailing him with a suspicious eye, but nevertheless

remained respectful to McGinnis because he was Mr. Finlay’s superior.
   Case 1:15-cv-01184-JKB         Document 1       Filed 04/27/15     Page 4 of 9



    13.      On one night, while following Mr. Finlay around the building as he closed

up, Mr. McGinnis began talking about his experiences in Boston. He stated that on one

occasion, he got out on the wrong bus stop, ending up in the “wrong neighborhood,”

(implying it was an undesirable neighborhood) and later elaborated that it was a “black

neighborhood.” Mr. McGinnis told Mr. Finlay about a man who yelled at him from

across the street, “Do you know what neighborhood you’re in?” Mr. Finlay felt further

uncomfortable by Mr. McGinnis, and especially in the context of Mr. McGinnis’s

distrustful shadowing of Mr. Finlay when he closed the building.

    14.      On or about March 25, 2014, Mr. Finlay began feeling sharp pain in his

abdomen and felt very sick. Mr. Finlay’s pain worsened throughout the day – to the

point where he decided to check in at a hospital. He was scheduled to work at Fortis

from 6 p.m. to 10:30 p.m. on that night. Although suffering immense pain at the

hospital, Mr. Finlay notified his supervisor, Melissa Willet, that he may not be able to

come to work because he was not sure how long he would be in the hospital.

    15.      Later that day, Mr. Finlay was informed by doctors that he had

appendicitis, and that surgery would be performed at 9 p.m. that night. Mr. Finlay again

called Ms. Willet to inform her that he would not be able to work that night because of

the scheduled surgery.

    16.      Mr. Finlay’s surgery went well. However, his doctors forbade him from

driving for several days because of the operation (specifically, the stitches from the

incision). Mr. Finlay informed Ms. Willet that due to the doctor’s restrictions on him

driving (and general admonition that he rest), he could not work on either March 26,

2014 or March 27, 2014.
   Case 1:15-cv-01184-JKB          Document 1       Filed 04/27/15      Page 5 of 9



    17.       On March 31, 2014, Mr. Finlay arranged for a friend to transport him to

and from Fortis. He reported to work as scheduled. However, the Campus President,

Sean London asked to meet with him. During that meeting, Mr. London told Mr. Finlay

that he would be terminated from his position. One of the reasons Mr. London cited was

that he “didn’t know how long [Mr. Finlay] [was] going to be out for” (with respect to

the surgery). Mr. London further stated that having spoken to Mr. McGinnis, he had

learned that Mr. Finlay was going to leave anyway (he was not).

    18.       Mr. Finlay timely filed a charge for discrimination with the EEOC.

During that hearing, Mr. Finlay demonstrated that Fortis’ proffered reason for

terminating him (i.e. that he had permitted his Certified Dental Assistant (“CDA”)

license to lapse) was pretextual – nothing could be more dispositive on the issue than the

fact that the person hired to replace Mr. Finlay, a Caucausian woman – had a lapsed

CDA license at the time she was hired.

     FIRST CLAIM FOR RELIEF (42 U.S.C. § 1981 DISCRIMINATION BASED
                              ON RACE)

    19.       The allegations of each of the foregoing paragraphs are hereby

incorporated by reference.

    20.       The discrimination against Mr. Finlay, including race discrimination with

regard to termination and other terms and conditions of employment, including Mr.

McGinnis’s detailed oversight of Mr. Finlay’s key-locking responsibilities, the creation

of a racially hostile environment and intentional discrimination, must be redressed.

    21.       For the conduct set forth above at paragraphs 1 - 18, Mr. Finlay seeks back

pay, front pay in lieu of reinstatement, compensatory and punitive damages, payment of
   Case 1:15-cv-01184-JKB           Document 1       Filed 04/27/15      Page 6 of 9



attorneys' fees and costs, and all other relief that the Court may deem just and proper

against Defendant.

    SECOND CLAIM FOR RELIEF (DAMAGES UNDER TITLE VII - RACE
          DISCRIMINATON AND HOSTILE ENVIRONMENT)

    22.       The allegations of each of the foregoing paragraphs are hereby

incorporated by reference.

    23.       Mr. Finlay seeks back pay, front pay in lieu of reinstatement,

compensatory and punitive damages, and payment of attorneys' fees and costs to redress

the illegal and discriminatory conduct of Defendant pursuant to Title VII of the Civil

Rights Act of 1964.

    24.       The determination of the amount of the award for damages requires

discovery herein.

THIRD CLAIM FOR RELIEF (VIOLATIONS OF THE CIVIL RIGHTS ACT OF
       1866, AS AMENDED BY THE CIVIL RIGHTS ACT OF 1991,
          DISCRIMINATORY DISCHARGE BASED ON RACE)

    25.       The allegations of each of the foregoing paragraphs are hereby

incorporated by reference.

    26.       Fortis, with Mr. McGinnis and Mr. London, violated The Civil Rights Act

of 1866, as amended by The Civil Rights Act of 1991, 42 U.S.C. § 1981et seq., by

terminating Mr. Finlay on account of his race. In so doing, the defendants acted with

malice or reckless indifference to Mr. Finlay’s federally protected rights.

    27.       In taking these actions, defendant McGinnis and London acted as agents

of Fortis and within the scope of his employment.

FOURTH CLAIM FOR RELIEF (VIOLATIONS OF THE CIVIL RIGHTS ACT
 OF 1866, AS AMENDED BY THE CIVIL RIGHTS ACT OF 1991, HOSTILE
              WORK ENVIRONMENT BASED ON RACE)
    Case 1:15-cv-01184-JKB         Document 1       Filed 04/27/15     Page 7 of 9




     28.       The allegations of each of the foregoing paragraphs are hereby

incorporated by reference.

     29.       Fortis, with Mr. McGinnis, violated The Civil Rights Act of 1866, as

amended by The Civil Rights Act of 1991, 42 U.S.C. § 1981et seq., by subjecting Mr.

Finlay to a racially hostile work environment on account of his race. In so doing, the

defendants acted with malice or reckless indifference to Mr. Finlay’s federally protected

rights.

     30.       In taking these actions, defendant McGinnis acted as agents of Fortis and

within the scope of his employment.

  FIFTH CLAIM FOR RELIEF (VIOLATIONS OF THE AMERICANS WITH
                      DISABILITIES ACT)


     31.       The allegations of each of the foregoing paragraphs are hereby

incorporated by reference.

     32.       Mr. Finlay was a qualified person with a disability defined under the

Americans with Disabilities Act “ADA”

     33.       Defendant Fortis is an entity covered by the ADA yet discriminated

against Plaintiff and terminated him on the very first day he reported to work after

undergoing surgery, without providing any advance warning of a forthcoming

termination.

SIXTH CLAIM FOR RELIEF (VIOLATIONS OF THE FAMILY AND MEDICAL
                          LEAVE ACT)

     34.       The allegations of each of the foregoing paragraphs are hereby

incorporated by reference.
   Case 1:15-cv-01184-JKB           Document 1      Filed 04/27/15      Page 8 of 9



    35.       Defendants' actions constitute interference with Plaintiff's substantive

rights under FMLA.

    36.       An employer is prohibited from discriminating or retaliating against

employees who have used FMLA leave, or otherwise exercised their rights under the

FMLA.

    37.       Defendant's termination of Plaintiff in violation of the FMLA resulted in a

loss of income, benefits, and other damages.

    38.       The foregoing acts are a willful violation of the Family and Medical Leave

Act of 1993, and entitle the Plaintiff to recover damages, including liquidated damages,

as provided at 29 U.S.C. § 2617.

                                PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests that this Court:

a) a declaration that defendants' actions deprived Mr. Finlay of his federally protected

   rights;

b) back pay in an amount to be proved at trial;

c) front pay in an amount to be proved at trial;

d) compensatory damages for emotional distress, humiliation, embarrassment, harm to

   his career, loss of income, and mental anguish in an amount to be proved at trial;

e) punitive damages in an amount to be proved at trial;

f) costs and expenses of this action, including, but not limited to, reasonable attorneys'

   fees and litigation costs; and

g) such other relief as the Court finds necessary and appropriate.
     Case 1:15-cv-01184-JKB            Document 1        Filed 04/27/15       Page 9 of 9



                                   Request for Jury Trial

Plaintiff requests a trial by jury on all matters properly tried to a jury.




                                                                Respectfully submitted,

Dated: April 27, 2015
                                                                _/s/ Nishith Patel_________
                                                                Nishith Patel
                                                                Bar ID. 24695
                                                                Patel Law
                                                                1 Research Court, Suite 450
                                                                Rockville, MD 20850
                                                                npatel@patellawgroup.com
